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 6   Attorney for Defendant, Aseel Al-Saber
 7
                                IN THE UNITED STATES DISTRICT COURT
 8
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10                                                 ) Case No.: 1:14-CR-00228-LJO
     UNITED STATES OF AMERICA,                     )
11                                                 )
                   Plaintiff,                      ) REQUEST TO STAY SURRENDER DATE
12                                                 )
            vs.                                    )
13                                                 )
     ASEEL AL-SABER                                )
14                                                 )
                   Defendant.                      )
15

16
            Defendant, ASSEL AL-SABER, by and through her attorney, Jeffrey T.
17
     Hammerschmidt, and plaintiff, UNITED STATES OF AMERICA, by and through its counsel,
18
     Assistant U.S. Attorney Grant B. Rabenn, hereby stipulate to stay Ms. Al-Saber’s prison
19

20   surrender date from May 9, 2016 to July 11, 2016 at 2:00 p.m.

21
     Dated: May 6, 2016                                 /s/ Jeffrey T. Hammerschmidt
22
                                                        JEFFREY T. HAMMERSCHMIDT
23

24   Dated: May 6, 2016                                 /s/ Grant B. Rabenn
                                                        GRANT B. RABENN
25   //
26
     //
27
     //
28
           Case 1:14-cr-00228-LJO-SKO Document 259 Filed 05/09/16 Page 2 of 2



 1
                                                ORDER
 2
            The prison surrender date for Assel Al-Saber is stayed from May 9, 2016 until July 11,
 3
     2016 at 2:00 p.m.
 4

 5
     IT IS SO ORDERED.
 6

 7      Dated:    May 6, 2016                            /s/ Lawrence J. O’Neill _____
                                                 UNITED STATES CHIEF DISTRICT JUDGE
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